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Case 2:05-cv-04182-SRD-JCW Document 1460 Filed 10/24/06 Page 1 of 2

ASTER DISTR CouRT
AO 440 (Rev. 10/93} Summons im a Civil Action

CTHETCT BE Mil: 93

United States District Court,

MAUREEN O’DWYER, ET AL.

SUMMONS IN A CIVIL CASE
V. CASE NUMBER:

DEPARTMENT OF TRANSPORTATION 06-4389 “S” (3)
AMD DEVELOPMENT, ET AL.

TO: BOH BROS. CONSTRUCTION COMPANY, L.L.C.
Through its agent for service of process:
Michael G. Cullen
12203 Airline Highway
Baton Rouge, LA 70817

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name

and address)

Ashton R. O'Dwyer, Jr.
One Canal Place

365 Canal Street

Suite 2670

New Orleans, LA 70130

An answer to the Complaint and First Supplemental and Amending Company, which is herewith
served upon you, within twenty (20) days. after service of this summons upon you, exclusive of the day of
service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the

complaint. You must also file your answer with the Clerk of this Court within a reasonable period of time
after service.

CLERK DATE

Fee___-

(BY) DEPUTY CLERK “—~ process .--—_—->
XC Dktd >

~~ ciRmDep-—-——

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“AO 490 (Rev. 10/93) Suri... ons in a Civil Action

RETURN OF SERVICE

DATE ——

Service of the Summons and Complaint was made by me! | 0 f 22> lO
NAME OF SERVER (PRINT) A ft ‘ TITLE
. (-\
SATON O'PWYOR |" po Redtna_

Check one box below to indicate appropriate method of service

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ee
J Served personaily upon the defendant. Place where served:

[J Left copies thereof at the defendant's dwelling house or usuat place of abode with a person of Suitable age and
discretion then residing therein.

Name of person with whom the summons and complaint were left:

C] Returned unexecuted:

[J Other (specify):

TRAVEL

_ Ideclare under penaity of perjury under the laws of the Uni
contained in the Return of Service and Statement of Service Fee

seen _ 10/23/06
[

Date

Signature of Server

Ni A FH ro

Address of Server

(1} As to who may serve a Summons see Rute 4 of the Federal Rules of Ciyil Procedure.

